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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION



Synergy Drone LLC,

                      Plaintiff,         Civil Action No. 1:17-cv-00243-LY

v.                                       The Honorable Judge Lee Yeakel

Parrot S.A., Parrot Drones S.A.S., and
Parrot, Inc.,

                      Defendants.



           DEFENDANTS PARROT S.A.’S AND PARROT DRONES S.A.S’
          MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                    PURSUANT TO FED. R. CIV. P. 12(b)(2)
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       Pursuant to Rule 12(b)(2) of the Federal Rules of Civil Procedure, Defendants Parrot,

S.A. and Parrot Drones S.A.S. (“Parrot Drones”) respectfully move this Court to dismiss Plaintiff

Synergy Drone LLC’s (“Synergy Drone”) Complaint for lack of personal jurisdiction.

                                        INTRODUCTION

       In determining the reach of the Due Process Clause of the Fourteenth Amendment over

foreign corporations haled into United States courts, the Supreme Court has emphasized that

“risks to international comity” and “[c]onsiderations of international rapport” warrant caution

when attempting to establish personal jurisdiction over corporations that reside on foreign soil.

Daimler AG v. Bauman, 134 S.Ct. 746, 763 (2014). By filing suit against Parrot, S.A. and Parrot

Drones, two French corporations that have no connection with this forum, Synergy Drone has

run afoul of both this instruction as well as the Due Process Clause.

       The Complaint lacks any plausible basis to satisfy the legal requirements for establishing

personal jurisdiction over either French entity. Synergy Drone’s Complaint alleges that personal

jurisdiction is proper based on the alleged operation of a website that sells drones and drone-

related products. This allegation is insufficient under binding Federal Circuit precedent holding

that general websites accessible anywhere that lack a specific connection to a particular state

cannot give rise to specific personal jurisdiction. Not to mention, Synergy Drone does not

specify which of the distinct Parrot entities named as defendants operate the website, further

undermining the sparse personal jurisdiction allegations in the Complaint. Nor does the

Complaint contain any allegations that could give rise to an alter ego or agency relationship to

support personal jurisdiction over either Parrot, S.A. or Parrot Drones. Finally, in light of the

emphatic reaffirmation by the Supreme Court that general personal jurisdiction over a foreign

corporation is only proper if the foreign corporation is “essentially at home in the forum state,”

general personal jurisdiction is clearly absent with respect to both Parrot, S.A. and Parrot Drones.


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Daimler, 134 S.Ct. at 754 (quoting Goodyear Dunlop Tires Operations, S.A. v. Brown, 131 S.Ct.

2846, 2851 (2011)). Accordingly, both Parrot, S.A. and Parrot Drones should be dismissed from

this case.

                                    STATEMENT OF FACTS

        Synergy Drone is a Texas corporation with its principal place of business in Austin,

Texas. Complaint, ¶ 1. It filed the present lawsuit asserting infringement of five patents: United

States Patent Nos. 8,200,375 (“the ’375 patent”), 8,380,368 (“the ’368 patent”), 8,649,918 (“the

’918 patent”), 9,079,116 (“the ’116 patent”), and 9,568,913 (“the ’913 patent”). Id., ¶¶ 10-15.

All five patents relate to “methods, systems, and devices for controlling radio-controlled

vehicles, including helicopters and other aircraft ‘RC vehicles.’” Id., ¶ 17. The Complaint

alleges that Defendants “have incorporated innovative features of the Synergy Drone patents”

into Defendants’ “drone and drone-related products.” Id., ¶ 21.

        Defendants Parrot, S.A. and Parrot Drones are French corporations that both have their

principal places of business in Paris, France. Complaint, ¶¶ 2-3. Neither Parrot, S.A. nor Parrot

Drones has designated an agent for service of process in the state of Texas. See id., ¶¶ 2-3. The

third named Defendant is Parrot, Inc., which is a New York corporation with its principal place

of business in San Francisco, California. Id., ¶ 4.

        In asserting that this Court has personal jurisdiction over all three Parrot entities, the

Complaint makes only one specific allegation that “on information and belief, Defendants have

operated the Internet website, https://www.parrot.com/us/#drones, which is available to and

accessed by users, customers, and potential customers of the Defendants within this judicial

district . . . .” Complaint, ¶ 8. Apart from this averment, the personal jurisdiction allegations in

the Complaint are largely generalized legal conclusions such as: “Personal jurisdiction generally

exists over Defendants because Defendants have minimum contacts with this forum as a result of


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business regularly conducted within the State of Texas.” Id. The Complaint does not specify

how Defendants transact business in the state of Texas.

       Synergy Drone initiated this lawsuit on March 17, 2017, see Dkt.1, and issued

summonses for Parrot S.A., Parrot Drones, and Parrot, Inc. on April 28. See Dkt. 21. Thereafter,

the parties agreed that Defendants would have until August 28 to respond to the Complaint; in

exchange, Defendants agreed to waive service of process. See Dkt. 23. Accordingly, this motion

is timely and ripe for disposition.

                                      LEGAL STANDARD

       When assessing whether the exercise of personal jurisdiction over corporate defendants

in patent infringement suits is proper, Federal Circuit law applies because “the jurisdictional

issue is intimately involved with the substance of the patent laws.” Xilinx, Inc. v. Papst

Licensing GmbH & Co. KG, 848 F.3d 1346, 1352 (Fed. Cir. 2017) (internal quotation marks and

citations omitted). On a motion to dismiss for lack of personal jurisdiction, a plaintiff must make

a prima facie showing that Defendants are subject to personal jurisdiction based on “affidavits

and other written materials.” Id. (internal quotation marks and citations omitted). The

“uncontroverted allegations” in the Complaint must be accepted as true, and any “factual

conflicts in the affidavits” must be resolved in favor of Synergy Drone. Id. (internal quotation

marks and citations omitted). Importantly, however, this Court is “not bound to accept as true a

legal conclusion couched as a factual allegation.” Gant v. United States, 417 F.3d 1328, 1331

(Fed. Cir. 2005) (quoting Papasan v. Allain, 478 U.S. 265, 286 (1986)); see also Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009).

       “Determining whether jurisdiction exists over an out-of-state defendant involves two

inquiries: whether a forum state’s long-arm statute permits service of process and whether

assertion of personal jurisdiction violates due process.” Xilinx, 848 F.3d at 1352 (internal


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quotation marks and citations omitted). The “Texas long-arm statute extends to the limits of

federal due process.” Johnston v. Multidata Sys. Int’l Corp., 523 F.3d 602, 609 (5th Cir. 2008).

It follows that “the two inquires collapse into a single inquiry: whether jurisdiction comports

with due process.” Xilinx, 848 F.3d at 1353 (internal quotation marks and citations omitted).

       The Federal Circuit has articulated a three-factor test to ascertain whether the exercise of

specific personal jurisdiction is consistent with due process: “(1) whether the defendant

purposefully directed its activities at residents of the forum; (2) whether the claim arises out of or

relates to the defendant’s activities with the forum; and (3) whether assertion of personal

jurisdiction is reasonable and fair.” Xilinx, 848 F.3d at 1353 (internal quotation marks and

citations omitted). The first two factors “correspond with the ‘minimum contacts’ prong” of

International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945), while the third factor tracks the

requirement that the exercise of personal jurisdiction must harmonize with notions of “fair play

and substantial justice.” Xilinx, 848 F.3d at 1353 (internal quotation marks and citations

omitted). In other words, in order to demonstrate that the exercise of personal jurisdiction over

Parrot, S.A. and Parrot Drones is proper, Synergy Drone must satisfy all three specific

jurisdiction preconditions to ensure that the two cornerstones of specific personal jurisdiction are

satisfied: (1) that the defendant has the requisite minimum contacts with the forum; and (2) that

exercising personal jurisdiction does not offend notions of fair play and substantial justice. See

International Shoe, 326 U.S. at 316. And it is well-settled that the requirements for showing

personal jurisdiction must be independently met for Parrot, S.A. and Parrot Drones, respectively,

as “[e]ach [D]efendant’s contacts with the forum state must be assessed individually.” Calder v.

Jones, 465 U.S. 783, 790 (1984).




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       The more exacting standard of general jurisdiction, meanwhile, demands that a

corporation be “essentially at home in the forum state” such that the “corporation’s affiliations

with the State in which suit is brought are so constant and pervasive” in order to justify the

assertion of jurisdiction over a foreign corporation “to hear any and all claims against [it].”

Daimler, 134 S.Ct. at 751 (alteration in original) (internal quotation marks and citations omitted).

Accordingly, the contacts of the corporation with the forum state must be so “continuous and

systematic” such that “any and all claims” against the corporation can be heard in the forum at

issue, even if the claims are unrelated to the contacts with the forum. Id. at 754. As the Supreme

Court has increasingly focused on the “relationship among the defendant, the forum, and the

litigation, i.e. specific jurisdiction, general jurisdiction has come to occupy a less dominant place

in the contemporary scheme.” Id. at 758 (internal quotation marks and citations omitted).

                                           ARGUMENT

I.     PARROT, S.A. AND PARROT DRONES ARE NOT SUBJECT TO SPECIFIC
       PERSONAL JURISDICTION.

       The Complaint is devoid of a plausible basis to exercise either specific or general

jurisdiction over Parrot, S.A. or Parrot Drones. The attempts to establish specific jurisdiction

over both Parrot, S.A. and Parrot Drones are facially deficient, as Synergy Drone has utterly

failed to allege that either Parrot, S.A. or Parrot Drones have purposefully directed their activities

at residents in the state of Texas. See Xilinx, 848 F.3d at 1353. Moreover, it is fundamentally

unfair and antithetical to notions of fair play and substantial justice to force two French

corporations that have no distinct ties to the state of Texas to defend themselves against a lawsuit

filed in that forum. See id.




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       A.      Neither Parrot, S.A. Nor Parrot Drones Is Subject To Personal Jurisdiction
               Based on the Operation of a Website Lacking Distinct Connections to This
               Forum.

       As noted above, the sole basis pled in the Complaint for establishing personal jurisdiction

over Parrot S.A. and Parrot Drones is their purported operation of a website selling drones and

drone-related products. Whether a website suffices to confer personal jurisdiction is evaluated

like “any other contact under a specific jurisdiction theory; for there to be minimum contacts,

there must be evidence that [Defendants] purposefully availed [themselves] of [the forum state]

. . . .” NexLearn, LLC v. Allen Interactions, Inc., 859 F.3d 1371, 1378 (Fed. Cir. 2017). As a

general matter, however, the Federal Circuit has clearly and unambiguously held that the

“existence of [a] website, without more, is insufficient to show . . . minimum contacts.” Id. It

follows that Synergy Drone’s assertion that personal jurisdiction over Parrot, S.A. and Parrot

Drones is proper because of the operation of the website https://www.parrot.com/us/#drones, see

Complaint, ¶ 8, cannot be reconciled with binding Federal Circuit precedent.

       The starting point for this conclusion is Trintec Indus., Inc. v. Pedre Promotional Prods.,

Inc., 395 F.3d 1275 (Fed. Cir. 2005). In that case, the Federal Circuit found that the use of an

“interactive website to advertise . . . products” did not establish personal jurisdiction: “The

difficulty is that [the] website is not directed at customers in the District of Columbia, but instead

is available to all customers throughout the country who have access to the Internet.” Id. at

1281. By extension, the operation of the website did not “by itself show any persistent course of

conduct by the defendants in the District.” Id. (internal quotation marks and citations omitted).

Critically, the Federal Circuit arrived at this conclusion even though the website had “interactive

features aimed at transacting business” because it was “unclear how frequently these features are

utilized or, indeed, whether any District residents have ever actually used [the] website to




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transact business.” Id. In sum, “something additional beyond a website is required to establish

personal jurisdiction.” Id.

       Recent Federal Circuit decisions have buttressed this conclusion, repeatedly rebuffing

efforts to haul defendants into a forum based upon the operation of a website equally accessible

to residents anywhere in the United States. In Nuance Commc’ns, Inc. v. Abbyy Software House,

626 F.3d 1222, 1235 (Fed. Cir. 2010), the Federal Circuit concluded that it could not “determine

that Abbyy Software purposefully availed itself of the privilege of conducting activities in

California by some affirmative act or conduct” even though Abbyy Software maintained a

website that “promot[ed] the sale of . . . products in California.” Most recently, just over two

months ago, the Federal Circuit issued NexLearn, powerfully repudiating yet another attempt to

rely on a website to circumvent the minimum contacts test: “We agree with the district court that

Allen’s ZebraZapps website alone does not render it subject to specific jurisdiction in Kansas.”

NexLearn, 859 F.3d at 1378. Although the website at issue included “Kansas in its dropdown of

all states on its website” this was “not enough to subject Allen to jurisdiction in Kansas. Allen’s

address selector may indicate its amenability to selling ZebraZapps to Kansas residents, but it

does not establish minimum contacts arising out of or related to the infringement claim.” The

hypothetical ability of Kansas residents to purchase products from the website did nothing to

alter this conclusion:

               While a Kansas resident could purchase ZebraZapps from Allen’s
               website, what is missing is any evidence that such a sale has taken
               place . . . . NexLearn does not even allege that any Kansas resident
               has accessed Allen’s ZebraZapps website. There is no evidence
               that Allen’s website facilitated the making, using, offering, or
               selling of ZebraZapps in Kansas in order to connect Allen’s
               website with NexLearn’s patent infringement claim. In this
               respect, Allen’s website is conceptually no different than operating
               an out-of-state store. That a store would accept payment from a
               hypothetical out-of-state resident and ship its product there does



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               not create a substantial connection for an infringement claim
               between the store and the hypothetical resident’s forum State. The
               store’s willingness to enter future transactions with out-of-state
               residents does not, without more, show purposeful availment of
               each State in which it would, but has not yet, provided or even
               offered a sale. Something more is needed—whether it be actual
               sales, targeted advertising, or contractual relationships—to connect
               the defendant’s infringing acts of making, using, offering, or
               selling its product with the forum State.

Id. at 1378-79. Ultimately, the Federal Circuit concluded that the website in NexLearn

established only an “attenuated affiliation” with the state of Kansas, insufficient to support the

exercise of specific jurisdiction. Id. at 1381.

       Likewise, the website https://www.parrot.com/us/#drones (“Website”) lacks a specific

and tangible connection to the state of Texas, dooming any attempt by Synergy Drone to support

a claim of specific jurisdiction over either Parrot, S.A. or Parrot Drones. As in Trintec and

NexLearn, the Website can be accessed anywhere in the United States, and the drones and drone-

related products can be bought by anyone anywhere in the United States. In addition, internet-

based drones sales in the U.S. are made by Parrot, Inc., not Parrot S.A. or Parrot Drones. See

Floret Decl. ¶ 8; id., Ex. A at 1. Thus, any contention that personal jurisdiction is proper based

on the Website is even weaker than the arguments rejected by the Federal Circuit in NexLearn;

there, some connection to the forum state was apparent on the face of the website at issue. See

NexLearn, 859 F.3d at 1378. By contrast, the state of Texas is nowhere to be found on the

Website; indeed, the Website simply indiscriminately offers drones and drone-related products

for sale from Parrot, Inc., not Parrot S.A. or Parrot Drones. As in NexLearn, Synergy Drone has

not “even allege[d] that any [Texas] resident has accessed [the] [W]ebsite,” which confirms that

the Website has no greater nexus with the state of Texas than any other state. NexLearn, 859

F.3d at 1378. If this Court were to accept the premise that the Website sufficed to force Parrot,

S.A. and Parrot Drones to litigate here, then the boundaries of specific jurisdiction would be


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“eviscerate[d],” as under that reasoning, both Parrot, S.A. and Parrot Drones would be subject to

suit in any forum where the Website was accessible—virtually everywhere in the world.

McDonough v. Fallon Mcelligott, Inc., No. Civ. 95-4037, 1996 WL 753991, at *3 (S.D. Cal.

Aug. 5, 1996). Such a result is fundamentally unfair and irreconcilable with due process.

       Moreover, by generically alleging that “Defendants” operate the website, Complaint ¶ 8,

Synergy Drone has failed to distinguish between Parrot, S.A., Parrot Drones, and the third named

defendant, Parrot Inc.—three distinct entities—and has impermissibly lumped the three together,

attempting to escape its burden of demonstrating the adequacy of “each [D]efendant’s contacts.”

Calder, 465 U.S. at 789. Thus, even if the Website could support the exercise of personal

jurisdiction in the Western District of Texas – which it cannot – Synergy Drone has failed to

specify which Defendant operates and maintains the Website. Nor does this Court need to credit

allegations that “Defendants have minimum contacts with this forum as a result of business

largely conducted within the State of Texas and within this district,” that Defendants “transacted

business within the State of Texas” and that “this Court’s jurisdiction over the Defendants

comports with the constitutional standards of fair play and substantial justice and arises directly

from the Defendants’ purposeful minimum contact with the State of Texas.” Complaint, ¶ 8.

Such “legal conclusion[s] couched as . . . factual allegation[s]” should be given no weight.

Iqbal, 556 U.S. at 678 (internal quotation marks omitted). It follows that because Synergy Drone

has failed to allege “[s]omething more” alongside the operation of the Website, specific personal

jurisdiction cannot be established over either Parrot, S.A. or Parrot Drones, as neither Parrot,

S.A. or Parrot Drones purposefully directed activities towards residents of this forum and forcing




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Parrot, S.A. and Parrot Drones to litigate in this forum would impose precisely the type of

unreasonable burden that is proscribed by the Due Process Clause. NexLearn, 859 F.3d at 1379. 1

       B.      An Alter-Ego or Agency Theory of Personal Jurisdiction is Not Pled and is
               Not Viable.

       “For purposes of specific personal jurisdiction, the contacts of a third-party may be

imputed to the defendant under either an agency or alter ego theory.” Celgard, LLC v. SK

Innovation Co., Ltd., 792 F.3d 1373, 1379 (Fed. Cir. 2015). “In order to establish jurisdiction

under the agency theory, the plaintiff must show that the defendant exercises control over the

activities of the third party.” Id. “Alternatively, a plaintiff may establish personal jurisdiction

under an alter ego theory.” Id. Indicia of an alter-ego relationship include a failure to adhere to

“corporate formalities,” operation of a subsidiary “without the oversight of a formal board of

directors,” and the purposeful manipulation of the corporation form to thwart “recovery of [a]

judgment.” Minnesota Mining & Mfg. Co. v. Eco Chem, Inc., 757 F.2d 1256, 1265 (Fed. Cir.

1985). However, the “corporate form is not be lightly cast aside” and the general rule is that the

corporate form “should be recognized and upheld, unless specific, unusual circumstances call for

an exception.” 3D Sys. Inc. v. Aarotech Labs. Inc., 160 F.3d 1373, 1380-81 (Fed. Cir. 1998)

(internal quotation marks and citations omitted).

       The Complaint fails to even plead any facts that could plausibly give rise to an agency or

alter ego relationship between Parrot, Inc. and either Parrot, S.A. or Parrot Drones; indeed,

neither theory is mentioned as a basis for personal jurisdiction. See Complaint, ¶ 8. To the


       1
           Unsurprisingly, because the mere operation of a website is insufficient to establish
specific jurisdiction, for largely the same reasons, the “maintenance of a website is also
insufficient to give rise to general jurisdiction,” namely “the website is not directed at customers
in [the forum state] and does not appear to have generated any sales in [the forum state].”
Campbell Pet Co. v. Miale, 542 F.3d 879, 884 (Fed. Cir. 2008).



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contrary, the record evidence proffered by Defendants shows that Parrot, S.A., Parrot Drones,

and Parrot, Inc. are all independent and distinct corporate entities. All three corporations have

separate Boards of Directors, and Parrot, Inc. has Directors that have no role at either Parrot,

S.A. or Parrot Drones. See Floret Decl. ¶ 12. In addition, all three corporations observe

corporate formalities, such as holding shareholder meetings and having separate books and

records. See id. ¶¶ 10-11. Finally, the wrongdoing or manipulation that usually accompanies

an alter ego finding is missing; there is no evidence that either Parrot, S.A. or Parrot Drones has

taken any actions to shield themselves from recovery behind Parrot, Inc.

       Because the requisite degree of control necessary to allege an agency or alter ego theory

of personal jurisdiction is missing from the Complaint and cannot be alleged consistent with

Rule 11 of the Federal Rules of Civil Procedure, Synergy Drone cannot rely on either theory to

establish personal jurisdiction over Parrot, S.A. or Parrot Drones.

II.    PARROT, S.A. AND PARROT DRONES ARE NOT SUBJECT TO GENERAL
       PERSONAL JURISDICTION.

       Little ink needs to be spilled on whether Parrot, S.A. or Parrot Drones is subject to

general personal jurisdiction in this forum in light of the Supreme Court’s reaffirmation of the

stringent standard applicable to finding that general jurisdiction over foreign corporations is

proper—namely that the corporations’ “affiliations with the State are so continuous and

systematic as to render them essentially at home in the forum State.” Daimler, 134 S.Ct. at 754

(internal quotation marks and citations omitted). Synergy Drone has not come close to meeting

this standard for any of the Defendants, and has pled no facts from which this Court could

plausibly conclude that any of the Defendants 2 are “essentially at home” in Texas. Id. It follows


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          Notably, the Supreme Court cautioned that it “has not yet addressed whether a foreign
corporation may be subject to a court’s general jurisdiction based on the contacts of its in-state



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that Synergy Drone cannot establish general personal jurisdiction over either Parrot, S.A. or

Parrot Drones.

                                        CONCLUSION

       Because this Court lacks personal jurisdiction over Parrot, S.A. and Parrot Drones, both

Defendants must be dismissed from this case.



Dated: August 28, 2017                               Respectfully Submitted,

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                                                     Parrot Drones S.A.S.


subsidiary.” Daimler, 134 S.Ct. at 759. Yet, it is unnecessary for this Court to reach or decide
this issue because the Complaint lacks any mention of an in-state subsidiary subject to general
jurisdiction in Texas; in addition, Synergy Drone has not made an adequate showing of an alter
ego relationship. See Section I.B, supra; see also Daimler, 134 S.Ct. at 759 (“[S]everal courts of
appeals have held[] that a subsidiary’s jurisdictional contacts can be imputed to its parent only
when the former is so dominated by the latter as to be its alter ego.”).



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                                CERTIFICATE OF SERVICE
       I hereby certify that on the 28th day of August, 2017, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

all counsel of record.

                                                     /s/ B. Russell Horton
                                                        B. Russell Horton




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